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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

        Plaintiff,                                    Case No. 3:21-cr-116

vs.

CLAY A. SWANSON,                                      District Judge Michael J. Newman
                                                      Magistrate Judge Sharon L. Ovington

        Defendant.


  ORDER ADOPTING THE REPORT AND RECOMMENDATION OF THE UNITED
              STATES MAGISTRATE JUDGE (DOC. NO. 30)


        This criminal case is before the Court on the Report and Recommendation of the United

States Magistrate Judge, recommending that the Court accept Defendant’s guilty plea. Doc. No.

30. There being no objections, the Court ADOPTS the Report and Recommendation in full. The

Court accepts Defendant’s plea of guilty as charged in Count One of the Information, which

charges him with conspiracy to possess with intent to distribute 50 grams or more of

methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B). Doc. No. 25. The Court

will defer the decision of whether to accept the plea agreement until the sentencing hearing on

January 27, 2022 at 11:00 AM.

        IT IS SO ORDERED.

Date:    October 14, 2021                          s/ Michael J. Newman
                                                   Hon. Michael J. Newman
                                                   United States District Judge
